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         Ç     Òʩư‫ؚ‬ƊƱɨΒƋÜVԵ‫ׇؚͮ‬ӣԶ‫ؚ‬PϻԷ‫ؚ‬ŕϼ ͯ‫׈‬Γ̮ƇÝԸ‫ؚ‬Ͻҋ‫ؚ‬ˡΔ#ƲӠ(ŖԹ‫׷ؚ‬ˢԺʪ‫ؚ‬Ӥ[ͰƳ ƴ‫ؚ‬ԻDƵ‫ؚ‬ƶɩΕƌÞΖ$‫ؚ́‬ΗϾ‫׸‬ӥ
                 ˣӦ‫ؚ‬ƷQʑßʒƸƍ‫ؚ‬ˤΘ‫ؚ‬ŗҌ˥ͱ˦Ιà͉‫ؚ‬áŘ{̯‫ּ̰׮‬؉¬‫ ؚ‬Ïɞ‫ؚ‬Լʫƹ‫ؚ‬ƺɪΚâΛԽ‫ؚ͂‬ΜϿ‫׹‬ӧ‫ؚ‬ӨЀͲƻЁΝƼ‫ؚ‬ʬ.w‫ؚ‬ĿƽƾΞ‫ؚ‬řЂ‫ׯ‬ŚԾƿƎ
                 Ѓɐ‫ؚ‬ã‫ؚ‬ɫ͊ЄΟ؊‫ؚ‬Կ ǀ‫ؚ‬ǁɬΠƏ(ΡՀ‫׉ͳؚ‬өՁ‫ؚ‬΢[Ղ‫ ؚ̓‬Ѕ‫˧׺‬Σʓ؋‫ؚ‬śІ‫׊‬Τ˨Ŝäǂ‫ؚ‬Їҍ‫˩ؚ‬Υ%ǃ!,ŝՃ‫˪׻ؚ‬ՄC‫&ؚ‬ʭåՅ
                   ǄjӪЈΦ‫׼ؚ‬ՆʮЉ‫׋‬Շ‫ؚ‬ɿҎӫx‫ؚ‬ʔǅ~xXʕ‫ؚ‬Ոǆ‫ؚ‬g7ҏʹ˫ӬӭˬЊΧ‫ؚ‬Ћɑ‫ؚ‬ՉʯǇ‫ؚ‬ѬҐЌŀæֽЍΨ‫ؚ‬ЎɺŞǈґ­‫ ؚ‬T?R-.F#81
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                 Ɨ"vƲǫ

         È     ÑA'ʰǉ‫ؚ‬ǊɟɍRƐ)WՊ‫ؚ‬IӮ‫ؚ‬çҒғǋӯՋǌƑ‫ؚ‬ЏҔ‫׌҉ؚ‬ǍsyHАΩƒ‫ؚ‬Ł،‫ؚ‬è‫ؚ׽ؚ͋‬ǎΪʇҕşǏ Ϋ%‫\ؚ‬ɷ̺ŠǐҖ‫ؚ‬ՌǑ‫ؚ‬ƓǒɭάƔέՍ
                   ‫׍‬ӰՎ‫ؚ‬ήБՏ˭ʏ‫ؚ‬ՐʱǓ‫ؚ‬ѭӑѩłéՑˮВί‫ؚ‬Гɻšǔҗ‫˯׾ؚ‬Ւʲ˰ΰ‫ؚ‬ÆÁ‫ؚ‬ʳД‫׎‬qԴ®‫ ؚ‬T@G$H$92Y µöƘǭ@ņĠYÂƳÃŇġǭǨýčĎ
                 #ƙƚÄƛƴǭ Ƶªwǭ ŨŸň7$ƶþĢǭ ŉ AxŹǭ ģǭ đŊĤ÷ǌŋźÅĥ¤ǭ Ʒ«yǭ Zz{Ħ[%ħƸǭŌŻǭ ũżƹBƺÆōĨǭ Ŏǭƻ¬|
                 CŏĒēǔĩǏ

         Î‫ ؚ»ؚ‬ÓʴǕ‫ؚ‬ƕǖɮα2)βՓ‫׏͵ؚ‬ӱՔ‫ؚ‬γЕՕ‫ؚ‬Ж‫׿‬δ‫ ؚ‬ѮЗӲuǗӳӴ‫ ؚ‬ИҘ‫ؚ‬ʵê‫װ‬ǘ‫ ؚ‬ëŢţӵӶ‫ ؚ‬ՖЙ‫ؚ‬ì‫ ؚ‬ʀ!8íҙͶ ‫ ؚ‬ͷ͸ε˱‫]׆‬ζ¡‫ؚ‬
                Ǚӷ՗Ӓ‫ר‬Ť՘˲‫ؚױ‬ǚ‫˳ײ‬ť9¢‫ؚ‬Кk‫ؚ‬ƖîηʖǛle‫א‬Ӹ‫ ؚ‬ïѯЛS‫¯˴ؚ‬ǜ°£‫ؚ‬ðT‫؍‬ՙʶ˵θʗ‫ؚ‬՚ʷñz‫؀ؚ‬òӹ‫ؚ‬2ǝr˶ʘǞƗ¤‫ ؚ‬Мp‫؁ؚ‬Ӻ‫ؚ‬
                ͹НƘ˷ɢ̽ǟ‫ؚ‬ʈҚ¥‫ؚ‬՛;‫ؚ‬ӻѰǠ˸ʁǡ‫ؚ‬ѱ‫ב‬oѲОӼǢ‫ؚ‬Пɒǣó‫ג‬sGιʙ‫ؚ‬ŃР5IL؎‫ؚ‬κ̀‫ש‬ӓ‫^ؚ‬қ‫ؚ‬ľ|‫ؚ‬՜С‫ؚ‬ôλТ՝ʸǤҜ‫ؚ‬ѳǥҝӽb‫ؚ‬
                Ӿ‫ד‬Ŧ‫ؚ‬1Գ‫הؚ‬Tŧʹ̈́‫ו‬ӿ‫_ؚ‬Ҟ‫ؚ‬՞õԀǦҟr±‫ ؚ‬UAS.I%:3Y ­ÇƜǭDŐĪ\ÈƼÉīǭǩøĈĉǭŪŽőǟÊ]}ŒžǭūǕ8ĊùEǭ
                &Ĭ^ǭœF~ſǭƝŲǐ ǭ

         ¼½    Ôʺǧ‫ؚ‬ǨɯY3μ՟‫ؚ‬ͺ‫ז‬tՠ‫ؚ‬νУա‫ؚ‬öŨբ‫ؚ‬ФҠ‫ͅ*ͻؚ‬ǩ‫ؚ؏÷ؚ‬øʚҡǪ ͼǫξ#‫˹؂ؚ‬գʻ‫ؚؚ‬Kù‫ؚ؃‬Ǭ ʉҢũ ͽǭդ‫ؚ‬úʛǮοŪ
                 եХ‫ ؚ‬ûūզ‫ ؚ‬+t‫ ؚ‬ü‫ ؚ‬ŬЦπʂƙǯρ{˺ý͌‫ ؚ‬ʼ‫ח‬N-S‫ ؚ‬ԁЧ‫ת‬Ӕŭǰ‫` ؚ‬ң‫˻ ؚ‬ςʊҤNþUէ‫ ؚ‬؄ըʽШ‫ט‬թ‫ ؚ‬ʃҥԂժ‫ ؚ‬ʜǱ‫˼'ׅ‬ʝ‫ ؚ‬yDǲ
                 g:Ҧ;˽ԃԄ˾aσ‫ؚ‬Щɓ‫ؚ‬իʾǳ‫ؚ‬ÊЪ‫י‬ҧ‫ ؚ¸־‬VBJ/"K&;4Y ®ËƞǭGĭ_ÌƽÍŔĮǭÎƟǭ'ÏĔ`ǭ(ƾǭƀaǖHÐį¥ǭƿ¯ǭƁÑƠā
                 ŕǭƂIÒÓǠÔơĕǭ)İbǭŬƃŖǡÕcÖı¦ŗƄǭŭǗ9ą×JǭƢ5Ǒ

         ‫¾ؚ‬Â   ÐA‫ؚ‬լʿ7‫ؚ‬Ѵӡ]ńÿխ˿Ыτ‫ؚ‬ЬɔʄŮǴl‫ؚ‬ǵծǶmÒ =ԅ‫ ؚ‬Ā|‫ؚ‬կˀǷ‫ؚ‬4ǸɰVƚāυհ‫ؚ‬ѵЭԆǹԇ‫ؚ‬Ă‫ؚ‬ӕ̱Ԉ͆‫ؚ‬ձЮ‫ؚ‬ăφ_ղˁǺ"‫ؚ‬ѶǻmԉЯχ
                 ́ψů͍‫ך‬ƛ̂ ʞ‫ؚ‬ω‫ؚ‬аҨB,ϊ̃‫ؙ‬Ąճ̄ϋ¦‫˂}ؚ‬Ǽ‫ؚ‬ѷӢ\Ņąմ̅бW‫ؚ‬вɼŰǽҩ‫Ϳؚ‬Ćؐ‫ؚ‬ҪǾҊ‫̆כ‬ҫǿ‫ؚ‬յȀ‫ؚ‬6ȁɱό-ύ'‫ؚ͎‬г‫ؚ‬ώдն̇ʐ
                 ~˃Ȃ‫ؚ‬ѸȃҬԊbϏ‫ؚ‬ćņе‫ל‬%‫ؚ‬շFȄ‫ؚ‬Ӗ̲ԋ͇‫ؚ‬ĈϐƜ‫ؚ‬ո˄ȅ‫ؚ‬ƝȆɲϑϒչ‫ם΀ؚ‬Ԍպ‫ؚ‬űc΁ѹ͏‫ؚ‬؅̈ջ˅‫ؚ‬ռEĉս‫ؚ̉‬ϓԍվӗ‫׫‬Ųտ̊жX²‫ ؚ‬Õˆȇ
                 ѺҭзŇĊֿ̳иY‫ؚ‬йɽųȈҮ‫ؚؑ΂ؚ‬ŴкQրċŵց‫ؚ‬ւ ȉ‫ؚ‬ѻȊүԎлϔ‫ؚ‬Čϕ‫ؚ‬ŶмɣJҰ΃‫ؚ‬փˇčք‫ؚ‬օˈȋ‫ؚ‬Ȍɕȍϖƞϗֆ‫ ؚ‬Ďԏ‫ؚ‬Uнև̋ɤJȎ
                 ֈˉȏ‫ؚ‬ѼȐұԐ`Ϙ‫ؚ‬ďňо‫מ‬։‫֊ؚ‬ȑ‫ؚ‬Ә̴ԑ͈³‫ ؚ‬WCL' M(<5Y ƣǭKĲdúǍÿţĳǭØƤǭ*ÙĖeǭ+ǀǭƅfǘLÚĴ§ǭǁ°
                        
                 ƆÛƥĂǭš ƇRûÜǢÝƦėǭ,ĵgǭŮƒŢǣÞpĶ¨ŘƈǭůǙ:ĆßMǭƧ-ǎǬ

         ÀÄ   ÖˊȒ‫ؚ‬ȓɳPƟĐϙ‫ؚ‬O‫ן‬Ԓ֋‫ؚ‬ʋ͚Kп ‫֌ؚ‬F;‫ؚ‬Hu֍ә‫׬‬ŷ֎̌рϚԓ‫ ؚ‬сɖ‫֏ؚ‬Ȕ‫ؚ‬ѽ"aŉđz̍тϛ‫ؚ‬уɸ̻Ÿ@Ҳ‫ؚ‬ҳ͐Ē֐ȕ‫֑ ؚ‬ф‫>֒ ؚ‬
                ŹхϜ̎֓̏цϝԔ‫ ؚ‬чɗ‫ ؚ‬v‫נ‬hȖҴ‫̐׳‬ԕ̑шϞ´‫ ؚ‬TDN)!O*=6Y ¶üƨǭ NřķqǂàŚĸǭ áƩǭ .Ĺǭ /hĘâĺãƪǃƉ0ǄäǤ
                ƊųǚåƋęĻǅǭŤǭƫǛŰƌǥæƬçśł
  Û̵͛ȗ‫ؚ‬щϟ‫ؚ‬Ԗ‫< ס‬ҵ‫̒״‬ԗȘƠ‫ؚ‬ҶɌ͜șēԘ=§‫ؚ<ˋؚ֔‬4ȚɠɎϠơ.Z֕‫ؚ‬vˌĔ͝͞‫͑ؚ‬ԙъ‫ؚ‬ĕŊ̓Ƣț‫ؚ‬ŋؒ‫ˍؚ֖‬Ȝ‫ؚ‬ʌ͟͠؆̔ϡʟ‫ؚ‬ԚѾȝź̕Ė͒‫ؚ‬ŻыϢƣ̖̗ьϣԛÉ‫ؚ‬
         ¿     ×Ȟ‫ؚ‬Ƥȟɴ ƥėϤ‫ؚ‬ԜˎĘ͢͡‫ ؚ‬ęn֗żѿĚ֘Ƞ‫ؚ̘‬ϥ‫ ؚ‬ě‫ؚ‬ҀncʠҷĜ΄‫ؚ‬эɘ‫ؚ֙‬ȡԝ̙֚Ϧʡ‫ؚ‬ĝ¹юo‫ؚ֛‬j:Ğ֜Ȣϧ$‫ ؚ‬ʍҸ‫ؚ‬ƦӚ‫׭‬ʢ
                 ğϨƧºяҹ‫ؚ‬Ġͣƈѐˏё͓‫ؚ‬ġŌ‫ע‬Ԟ8¨‫ؚ‬Ģԟ‫ؚ‬ƨ̚ҺŽ&ȣ‫ؚ‬ōؓ‫ؚ֝‬ːȤ‫ؚ‬ҁ"fŎģ‫̶׀‬ђϩ‫ؚ‬ѓɾžȥһ©‫ףؚ‬Ϫ̛͔֞‫ؚ‬Ԡ‫פ‬ſˑ‫΅̷ׁؚ‬Ȧ‫ؚ‬Ĥԡ‫ؚ‬Ԣȧ‫ؚ̜‬ԣ
                 pȨ͕ȩĥԤȪ5‫ ؚ‬ɧӟєΆ‫ ؚ˒֟ ؚ‬҂ҼѕʣҽĦ·‫ ؚ‬ŏؔ‫˓֠ ؚ‬ȫ‫ ؚ‬hӛѪŐħ̝֡іϫ‫ ؚ‬їəʅƀȬҾµ‫ ؚ‬Ì>ɵϬĨϭ֢‫ ؚ‬ԥ˔ĩͤM‫ ؚ‬ƁdΈ͖҃?֣?
                 ֤qȭĪ֥ΉȮϮ֦‫ؚ‬ī֧‫ؚ‬ØӜ0Ԧ̞̟֨eϯԧ‫ؚ‬јɚ‫ؚ‬Íؕȯҿ‫ؚ‬Ëљ‫ץ‬ϰ֩‫ ؚ¶ؖ‬XEP+0Q,>7Y±èƭǭOŜļiéǆêŝĽǭǪëċČǭƍjǜP
                 Ǉ²ǭƎìƮăǭťǭƏQíkîǦïƯĚǭ1ľlǭű ŞǧðmşƐǭoĿn2ŀǈǭƑ³3;ñćòǉ4ǊóŠŁ

         Ã     Ù˕Ȱ‫ؚ‬ƩɡɏR6ϱ֪‫ؚ‬Ԩ˖Ĭͥͦ‫ؚ҄‬ĭӀ}̿Ɖ̠iĮ֫ȱ‫ؚ̡‬ϲ‫ؚ‬į‫ؚ҅‬ӁfʤӝĽΊ‫ؚ‬њɛ‫ؚ‬΋Ȳϳׄ/͗‫˗ؚ‬ȳ/Mׂ˘‫ؚ֬‬ӂ@İ֭Ό9֮ª‫ؚ‬ԩ‫ؚ‬ƪ̢ӃȴƂȵƫ
                 ő‫˙ؚؗ‬ȶ‫ؚ҆‬kdŒı̣֯ћϴ‫ؚ‬ќɹ̼ƃȷӄ«‫צؚ‬ϵ̸ͧ‫ؚ‬Ԫ‫ק‬Ƅ˚‫ְؚ̤‬΍ȸ‫ؚ‬Ĳԫ‫ؚ‬Ԭ˛ȹ‫ؚ̥‬ԭ‫ؚ‬ӅȺ͘ȻĳԮȼ3‫ؚ‬ʎѝ ‫ֱؚ‬Ƚ‫ؚ҇‬ӆўʥӇĴΎ‫ؚ‬œ‫ֲؘؚ‬CȾ
                 i!^Ŕ0&̦џ϶‫ؚ‬Ѡɜʆƅȿӈ·‫ ؚ‬Ú˜ɀ‫ؚ‬ƬɁɶZƭĵϷֳ‫ؚ‬ԯE+ͨͩ‫ؚ‬؇Ķ̧‫׵‬ɂ‫ؚ‬ķͪ‫ؚ‬Ӟ̹ʦ˝$w‫ִؚ‬ѡ‫ؚ‬ƆѢ ɥ̾ƮɃ #̨̩‫ؚ‬ӉɄʧĸӊ̪ϸʨ
                 ΏɅϹĹL‫ֵؚ˟׃ͫ*˞ؚ‬ӋɆĺֶΐɇַ‫ؚ‬G‫ؚ‬ѣӌƯɈӍ‫ָؚ‬Ѥ‫ؚ‬1ͬͭѥ؈‫ؚ‬ӎ ͙ Ļ԰ɉ‫ؚ‬Ѧɝ‫ؚ̫‬ɦѫӏΑļֹ̬ѧ‫ֺؚ‬Ѩ‫ֻؚ‬ˠɊ‫ؚ‬Ա҈ɋӐ‫׶‬Բ̭ϺB

                                                   Å‫ؚ‬

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                   ȶƵ̌ĞöΡP̍ŭΡǚ̎ɃÁ͠mΡqŽɄ̏Ρˤ÷Ρ̐ΚΡǾ̿ƚɅøΔΡɆʯğΡʛʜǣ;ȼƫʝɂƝɇǿΡÂĠͩġĢȀΡ͉ɈΡ
                   ˀʧÃ͝ɉȁΡ vžΝ˃Ρ nΡ ̑ƋģΡ ǨĤ̒̾9Ρƌĥ͊͡Ρ ͓+ͬ͢ĦȂ̓Ρ˄r ƞ]ħ˅,Ρ jͭ˥̔ƿ͔Ɋˡ͕ɋȃBΡ ƘƬĨΡ
                   óȄùƴ͛ɌȅΡ¾˦Ɵ˧̕Ρ̖ƍĩΡʰˆɍÄ͖ɎȆΡ˂ÚΒˇΡƠȇΡǩɏȈơ̗ɐˈƢȉƆΡ̘ƎĪΡúīůĬȊûȋ̙ΡŰɑ Ρʱˉɒ̚ĭî̽ɓȌΡ
                   ɔűΡ͋ĮΡÛɕǪǫͮȍƣͪΡ¶üŲǬΖΡýįżȎþ·̛ΡCΗİǧÅƳǟų͞ɖȏ-Ρ

            y    ɗΡ ÿıŴĲȐĀȸȹ̜Ρ ˨ǔǵiΡ ˩ͯÆǭƤ̝ΡÇƭ Ρ <DΘΡƏĳ̞ΡʲĴΞ˪ɘȑΡ ʳ*ʟʴəǒ3ͫΡ ƐɚĵΡ ΀ɛƛɜǀĶΡ ʵʶķˊ˫
                   ìʠǮʷͰ̈́ˬΡ˭ΡāŪȒĸĂΡÈΌΡERΡ!z.c/ΡΓΡǁ={>Ĺǂ"Ρɝ͌ĺ̓ΡĻǃļɞͨɟ̟ǌĽʪǻͱȿū͟ɠȓˮ
                   ɡ̠Ρs̡Ρ˯̢ɢˋƇľΡăĿ΁Ʈêŀ˰ΡɣˌΡǯţĚƥ#ΡɤŵΡɥſʣʤΡF?ΡΡ ş­ˍɦƑΡÜɧȔĄṆ̀ŁąΡÉ΍ΡȕΡgΊ̤łĆΡ|̥Ȗ͈
                   ʸˎɨÊ ͗ɩȗΡɪƀðΕΡɫ̦Ρ ćŮǄƊAM$Ρ h´ŃΡ̧ɬΡ ˱ͲËǹ̨Ρ͂ʨΡ ΡǙɭƒΡǰ¡ΎΡÌïΡ ƈˏɮͳȘĈ˲Ρƃ·
                   ǛɯũɰșΡ ɱŶΡΈńǅʭ˳Ο0Ρ ŅΡ ĉņŷŇȚĊ¯ȳ̩Ρ ˴Ɠ¢ǍǎΡ ΄£ǱΡ °ȴΏΡ ɲ͍ňːΡ ɳɴɵʹʹ¸ͦΡ ͎¿Ρ ͆ɶ
                   ʺ˞ŨǺ˵Ŧ̋ΡǤΡÍɷΡ ˶͵ÎƼŉÝ̪ΡͣΡ˷ÞȾƙß¤ΡʻͶˑ˸ͷɀΡͤΡ͒4ΡɸɹȵĜǖ̫ǜț%Ρ `ΡɺƁëŠ˒ΡǶ³ΐ
                   ôȜċ͸õΡ ˹Ŋ¼ñΡʼͿ¥¹̬ΡͥΡ͑bΡʥʦȝĘứƶɻȞΡɼȷǗΑΡ΅ƔŋǠΡ˝\˺ɽȲ®ÏǕʢΡ˻͹˼ʿΜƸΛǡΡɾΉǆ˽̭˾
                     ČŌŹočº̮ΡÐpΡ   àɿȟęƱ͘ʀȠΡʁŸΡƜ˿Ρ̀ͺʽōˠ΂Ʀ́ƧʂȡΡ¦ȢĎΡ͏̀ΡƅƹΡ§˓ŎOΡ̯ʃΡÑŏ
                   ̂ŐɁƕáďΡ íʡȣǓµΡ ő΃ƷĐŒȤâœΡ      aΡ̃Ŕ½òΡǲͻ̰̄ΡÒŕΡ ʄʅȥđͼʆʫĒΡ ¨̱Ρ©
                   ˔Ŗ±̉ʇƨ̲ªÓǏšΡQŢΡȺȻēΡƺΡN˕ŗʈ̅ʉȦȧÔǇŘΡ΋Ƚã˖&Ρl̆͜ʊȨ̳ǈʋȩSΡǦ̇ΡäʌȪĔ;ʍȫΡΆǞΡÀ
                   ͐Ρʾ˗ʎÕ«͙ʏȬΡåźŤŬΡƻΡǳʐIJ8Ưʑ˘ǥ̴Ρ̵ƖřΡĕŚƽǴĝȭ̶Ƅ˙Ρˁʒ̷śæ͚ʓȮΡʩ̸GƲŧΡçʔˢLȯ:kK'


         ENTER:

                                                         Ö5ǉΡ ʕ7²̊Ρ^(ΡΡǷǊǝǐǑΡ
                                                          ȰƩ͇ĖΡ}ǽ̈ΡWŻ˟ǘʖ̹ΡZͽėƉŜΡ



      ͅuΡ    TΠ˚[Ρ           wUΡ

                              


   xʗ×ťˣΡd1ΡŝǋèƗ)ΡΡ                                 VΡʬƾʙÙeͧΡ
      2~ΡΙΡ6˜ʞØ¬̺ƪʘȱΡtƂéŞ˛                              _̻HʚǼΡXʮΡf@YǢě»̼Ρ




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